District 20

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May 19, 2011

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May 19, 2011

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Case 1:11-cv-00736-LEK-CFH Document 45 Filed 07/29/11 Page 9 of 19

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Case 1:11-cv-00736-LEK-CFH Document 45 Filed 07/29/11 Page 11 of 19

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Case 1:11-cv-00736-LEK-CFH Document 45 Filed 07/29/11 Page 12 of 19

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May 19, 2011

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Case 1:11-cv-00736-LEK-CFH Document 45 Filed 07/29/11 Page 15 of 19

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May 19, 2011

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May 19, 2011

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May 19, 2011

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District 38

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May 19, 2011

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